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IN THE UNITED STATES DISTRICT COURT aoe eS oS
FOR THE DISTRICT OF MARYLAND NR oe on om —
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UNITED STATES OF AMERICA * > a
* a “EZ Ue
. — ae
v. * CRIMINAL NO. 2s
* am AcvHO 4 = 3
REBECCA JELFO, * (Wire Fraud, 18 U.S.C, § 1343;
* Forfeiture, 18 U.S.C. § 981, 21 U.S.C.
Defendant * § 853, 28 U.S.C. § 2461(c))
. *
KRREKEEK
INFORMATION
COUNT ONE
(Wire Fraud)

The United States Attorney for the District of Maryland charges that:

At all times relevant to this Information:

Introduction
1. Defendant REBECCA JELFO (“JELFO”) was a resident of Maryland.

2. From approximately 2008 until December 2015, JELFO was employed as the

Head of Marketing and Communications for the Americas for Company A, a global airline.

3. Beginning on January 4, 2016, until January 31, 2018, JELFO was a Senior

Director of Luxury Brand Marketing — Partnerships and Promotions at Company B, a global
hospitality company.

4. As part of JELFO’s duties at Company A and Company B, JELFO contracted

with various marketing vendors on behalf of her employer. The marketing vendors would then —

produce marketing products and provide marketing services to JELFO’s employer.
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5. Vendor A, Vendor B, and Vendor C were marketing companies that provided
various marketing services and marketing products. Vendor A was located in Maryland.

6, Vendor A provided marketing services and products to Company A and Company
B. Vendor A, Vendor B, and Vendor C provided marketing services and products to Company
B.

The Scheme to Defraud

7 From on or about May 21, 2015, through on or about January 31, 2018, in the
District of Maryland and elsewhere, JELFO devised and intended to devise a scheme and
artifice to defraud Company A and Company B, and to obtain money and property from
' Company A and Company B by means of materially false and fraudulent pretenses,
representations, and promises, with the intent to defraud and with knowledge of the scheme’s
fraudulent nature (“the scheme to defrau *). .

Manner and Means of the Scheme to Defraud

It was part of the scheme to defraud that:

8. JELFO instructed Vendor A to provide false and inflated invoices to Company A
in order for Company A to pay Vendor A. |

9. JELFO ensured that Company A paid the false and inflated invoices from

Vendor A.
| 10. JELFO instructed Vendor A to remit payments to cover JELFO’s personal
debts.

11. JEL¥FO submitted false and inflated invoices to Company B that purported to

come from Vendor A, Vendor B, and Vendor C.
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12. JELFO ensured that Company B paid the false and inflated invoices from Vendor
A, Vendor B, and Vendor C.

13. After Company B paid the false and inflated invoices from Vendor A, Vendor B,
and Vendor C, JELFO gave instructions to Vendor A, Vendor B, and Vendor C about where to
send the overpayments from Company B.

14. Based on JELFO’s instructions, Vendor A, Vendor B, and Vendor C remitted
payments to JELFO’s personal credit cards.

15... JELFO used her personal credit cards, which were paid for, in part, by funds |
originating from Company B, to fund JELFO’s lifestyle.

The Charge |

16. On or about November 14, 2017, in the District of Maryland and elsewhere, the

defendant, |
REBECCA JELFO,

for the purpose of executing and attempting to execute the scheme to defraud, did knowingly
transmit and cause to be transmitted by means of wire communication, in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds, that ts, JELFO transmitted and caused
to be transmitted a $106,282 wire communication from Vendor C to JELFO’s personal credit

card ending in 65004 between a location in Maryland and a location outside of Maryland.

18 U.S.C. § 1343
18 U.S.C: §2
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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

1, Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 981(a)(1)(C), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), in the event of the defendant’s
conviction under Count One of this Information. |

2. Asa result of the offense set forth in Count One, the defendant,

REBECCA JELFO,

shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to a violation of Count One. The property to be forfeited includes, but is
not limited to, $855,587.25.

3. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture: ~

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficulty;
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it is the intent of the United States of America, pursuant to 21 U.S.C. § 853(p), to seek forfeiture

of any other property of said defendant up to the value of the forfeitable property.

18 U.S.C. § 981(a\(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

Date: August 26,2019 Clef K How [ERP
Robert K. Hur

United States Attorney
